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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


UNITED STATES OF AMERICA, )
    Plaintiff,            )
                          )
v.                        )                 No. 21 CR 698
                          )                 The Hon. Judge Gettleman
RONALD MOLO,              )
    Defendant.            )



     RONALD MOLO’S MOTION TO EXTEND SURRENDER DATE

      NOW COMES Defendant, RONALD MOLO, through his counsel,

JOSHUA B. ADAMS, and respectfully requests this Honorable Court to

extend Mr. Molo’s surrender date currently schedule for August 15, 2023

for a period of 30 days. In support of his motion, Mr. Molo states the

following.

      1. On May 23, 2023, this honorable court sentenced Mr. Molo to 24

         months imprisonment. His surrender date is set for August 15,

         2023, at Thompson FCI.

      2. Recently, Mr. Molo had checkups with his physicians prior to his

         incarceration. Based on his examinations, Mr. Molo reports that

         his doctors require additional tests and to place Mr. Molo on

         medication.
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     3. Furthermore, Mr. Molo did not receive notification of his BOP

        designation until two weeks ago. He respectfully requests this

        additional month to get his affairs in order and prepare to serve

        his 24-month sentence.



  THEREFORE, Mr. Molo respectfully requests this honorable court

  extend his surrender date for a period of 30 days.

                                           Respectfully submitted,


                                           /s/Joshua B. Adams
                                           Joshua B. Adams
                                           Counsel for Ronald Molo

LAW OFFICES OF JOSHUA B. ADAMS, P.C.
900 W. Jackson Blvd., Suite 7 East
Chicago, IL 60604
(312) 566-9173
